     Case 1:25-cv-00400-AHA     Document 13-6     Filed 02/12/25   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
AIDS VACCINE ADVOCACY               )
COALITION, et al.,                  )
                                    ) Civil Action No. 25-400 (AA)
                  Plaintiffs,       )
                                    )
            v.                      )
                                    )
UNITED STATES DEPARTMENT            )
OF STATE, et al.,                   )
                                    )
                  Defendants.       )
___________________________________ )


 [PROPOSED] ORDER GRANTING TEMPORARY RESTRAINING ORDER

      Upon consideration of Plaintiffs’ motion for a temporary restraining order and

accompanying memorandum of law, it is hereby

      ORDERED that the motion is GRANTED.

      It is further ORDERED that Defendants are ENJOINED from enforcing or

implementing the Executive Order Number 14169, “Reevaluating and Realigning

United States Foreign Aid” (Jan. 20, 2025), and are ENJOINED from enforcing or

implementing the January 24, 2025, memorandum issued by Secretary of State

Marco Rubio, with the subject line “Executive Order on Review of Foreign Assistance

Programs” and numbered “25 STATE 6828.”

      It is further ORDERED that Defendants are ENJOINED from issuing,

implementing, or enforcing any stop-work orders under the authority of the

aforementioned Executive Order and memorandum, including the stop-work orders



                                         1
     Case 1:25-cv-00400-AHA       Document 13-6     Filed 02/12/25   Page 2 of 2




that have been filed in this case as exhibits to the Declarations of Mitchell Warren

and Andrew Sullivan that accompany Plaintiffs’ motion.

      It is further ORDERED that Defendants are ENJOINED to reinstate foreign

assistance funding and to continue to administer all foreign assistance awards to the

same extent and in the same manner as they did prior to January 20, 2025, according

to the terms of the awards.

      It is further ORDERED that this case shall be set for summary judgment

briefing on an expedited basis. A scheduling order will follow in short order.

      SO ORDERED.

Dated: February ___, 2025
                                                     U.S. District Judge




                                          2
